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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                     §
VENTECH ENGINEERS LP et al.,                               §
                                                           §                    Case No. 17-33203
                             1
                  Debtors,                                 §
                                                           §                   Jointly Administered
RODNEY D. TOW, CHAPTER 7                                   §
TRUSTEE FOR THE ESTATES OF                                 §
VENTECH ENGINEERS                                          §              Adversary No. 19 -________
INTERNATIONAL LLC, VENTECH                                 §
INTERNATIONAL PROJECTS LLC,                                §
and VENTECH ENGINEERS LLC,                                 §
                                                           §
                      Plaintiff,                           §
                                                           §
v.                                                         §
                                                           §
VENTECH INFORMATION SYSTEMS,                               §
INC.                                                       §
          Defendant.                                       §

                   TRUSTEE’S COMPLAINT TO AVOID AND RECOVER
                 PREFERENTIAL TRANSFERS AND TO DISALLOW CLAIMS

         Plaintiff Rodney D. Tow (the “Plaintiff” or “Trustee”), Chapter 7 Trustee for the Estates of

Ventech Engineers International LLC; Ventech International Projects LLC; and Ventech Engineers

LLC (“Ventech” or “Debtors”), as Plaintiff in the above-captioned adversary proceeding, alleges the

following upon knowledge, information, and belief:




1         The names of the debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Ventech Engineers L.P. (0943); Ventech Engineers LLC (7644); Ventech Fabrication
Services LLC (6482); Ventech Engineers International LLC (5030); Ventech Energy LLC (1829); Ventech Engineers
North America LLC (7325); Ventech Engineers USA LLC (7499); Ventech Vessel Fabricators LLC (6525); Ventech
Global Projects, Inc. (9146); Ventech International Projects LLC (2187); Ventech Global Construction, LLC (0736);
Ventech Modular Fabricators LLC (2960); Ventech Refining Solutions LLC (6454); Ventech Plant Constructors LLC
(5107); Ventech Engineers & Fabricators, LLC (2106); Ventech Industrial Contractors, LLC (6482); Ventech XTL LLC
(2500); and Ventech XTL Oklahoma City LLC (5549).
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                                       Jurisdiction and Venue

        1.       This is an adversary proceeding brought under Bankruptcy Rule 7001 relating to the

Chapter 7 cases, In re Ventech Engineers LLC, Case No. 17-33206 (Bankr. S.D. Tex. [Houston Div.]);

In re Ventech Engineers International LLC, Case No. 17-33210 (Bankr. S.D. Tex. [Houston Div.]); and

In re Ventech International Projects LLC, Case No. 17-33228.

        2.       This bankruptcy case is jointly administered under the bankruptcy case styled as In re

Ventech Engineers, L.P. et al., Case No. 17-33203 (Bankr. S.D. Tex., [Houston Div.]).

        3.       This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1334(b)

because this adversary proceeding arises in, arises under, or relates to the Debtor’s Chapter 7 case.

        4.       This proceeding is “core.” 28 U.S.C. § 157(b)(2).

        5.       Under Federal Rule of Bankruptcy Procedure 7008, the Trustee consents to entry of

a final order or judgment by the Bankruptcy Court in this matter.

        6.       This Court may enter final judgment or propose findings of fact and conclusions of

law in this action. 28 U.S.C. § 157(b)(1); Stern v. Marshall, 131 S. Ct. 2594, 2620 (2011).

        7.       Venue is proper under 28 U.S.C. § 1409(a).

        8.       The statutory bases for this complaint are §§ 547, 550, and 502(d) of the Bankruptcy

Code.

                                                 Parties

        9.       Plaintiff is Rodney D. Tow, the duly authorized and acting Chapter 7 trustee of

Ventech’s estate.

        10.      Defendant Ventech Information Systems, Inc. is a Texas for-profit corporation.

Based on Debtors’ Statement of Financial Affairs, Defendant is an insider of the Debtors. The

Defendant may be cited to appear by mailing a copy of the summons and complaint to its registered

agent, Kreg N. Stanley, 2414 Toddville Rd, Seabrook, TX 77586.



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                                         Factual Background

        11.     On May 26, 2017 (“Petition Date”), Debtors filed voluntary petitions for relief under

Chapter 7 of the Bankruptcy Code which is jointly administered with the above-referenced chapter 7

case.

        12.     The Court appointed Rodney D. Tow Chapter 7 trustee for Debtors’ estate on May

30, 2017.

        13.     Prior to the Petition Date, the Debtors maintained business relationships with

various business entities—including vendors, creditors, and suppliers—and regularly received goods

and services in support of its operations.

        14.     During the one-year period before the Petition Date (that is between May 26, 2016

and May 26, 2017) (the “Preference Period”), the Debtors continued to operate certain aspects of its

business affairs, including the transfer of property either by check, cashier’s check, wire transfers, or

otherwise to various entities.

        15.     During the Preference Period, as Debtors’ finances crumbled and creditors’ losses

grew, the Debtor paid Defendant an insider, large amounts totaling $483,028.71 (the “Preferential

Transfers”). Specifically, Debtors made the following Preferential Transfers to the Defendant on the

following antecedent debts:

                                 Ventech Engineers International LLC

  Appx.                     Invoice               Invoice                    Amount
  Transfer Date             Number                Date

  06/02/2016                53116-IN              05/31/2016                 $45,767.13
  06/02/2016                2-IN                  06/01/2016                 $671.19
  06/16/2016                0004828-IN            05/26/2016                 $1,517.29
  08/09/2016                0004848-IN            06/24/2016                 $1,527.85
  08/09/2016                51619-IN              08/01/2016                 $28,046.56
  08/09/2016                063016-IN             07/11/2016                 $41,119.94
  08/09/2016                51620-IN              08/02/2016                 $38,983.11
  08/08/2016                51625-IN              08/04/2016                 $6,949.57
  10/06/2016                51648-IN              08/31/2016                 $59,941.90

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  10/06/2016               51654-IN             09/20/2016                 $15,912.74
  10/20/2016               51670-IN             09/30/2016                 $34,625.82
  11/03/2016               51676-IN             10/06/2016                  $1,044.94
  11/03/2016               51677-IN             10/17/2016                 $2,433.62
  11/17/2016               51684-IN             10/31/2016                 $26,335.16
  12/15/2016               51696-IN             11/11/2016                 $4,219.59
  01/12/2017               110-IN               12/31/2016                 $21,966.81
  01/26/2017               51703-IN             11/30/2016                 $30,085.22
  02/09/2017               128-IN               01/20/2017                 $338.06
  02/09/2017               139-IN               01/31/2017                 $31,418.65
  02/09/2017               130-IN               01/20/2017                 $660.33
  04/06/2017               2179-IN              02/13/2017                 $86.60
  04/06/2017               2186-IN              02/28/2017                 $499.84
  04/06/2017               20170228-IN          02/28/2017                 $35,361.45
  05/04/2017               20170204-IN          03/20/2017                 $1,803.72
  05/04/2017               124-IN               03/31/2017                 $31,683.12
  05/17/2017               20170274-IN          04/30/2017                 $12,046.82
                                                Total                      $475,047.03

                                     Ventech Engineers LLC

  09/22/2016               51626-IN             08/04/2016                 $174.91
  09/22/2016               51627-IN             08/04/2016                 $558.68
  04/06/2017               51685-IN             11/01/2016                 $3,965.00
                                                Total                      $4,698.59

                               Ventech International Projects LLC

  11/03/2016               51656-IN             09/20/2016                 $3,283.09

                                                Total All Preferential $483,028.71
                                                Transfers

                                       COUNT ONE
             (Avoidance of Preferential Transfers Pursuant to 11 U.S.C. § 547(b))

       16.     The Trustee repeats and re-alleges the above paragraphs as if fully set forth herein.

       17.     Section 547(b) of the Bankruptcy Code authorizes a debtor, or a party acting on

behalf of the estate, to avoid a transfer of any interest in the debtor’s property, (a) to, or for the

benefit of, a creditor, (b) for or on account of an antecedent debt owed by the debtor before the

transfer was made, (c) made while the debtor was insolvent, (d) made within 90 days before the

petition date or between ninety days and one year before the Petition Date, if such creditor at the



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time of such transfer was an insider; (e) that enables the creditor to receive more than it would

receive had (i) the transfer not been made; and (ii) the creditor received payment of the debt to the

extent provided by the Bankruptcy Code.

        18.      The Preferential Transfers were transfers of an interest in property of the Debtors.

        19.      The Preferential Transfers were made on account of an antecedent debt owed by the

Debtors before the Preferential Transfers were made, as further detailed above.

        20.      During the Preference Period, the Debtors made the Preferential Transfers to or for

the benefit of the Defendant.

        21.      The Preferential Transfers were made within 90 days before the Petition Date or

between 90 days and 1 year before the Petition Date.

        22.      At the time of the Preferential Transfers, the Debtors were, or were presumed to be,

insolvent.

        23.      The Preferential Transfers enabled the Defendant to receive a greater recovery on

the antecedent debt than Defendant would have received had the Preferential Transfers not been

made and the Defendant received payment of the antecedent debts to the extent provided by the

Bankruptcy Code.

        24.      The Defendant has not repaid all or a part of the value of the Preferential Transfers.

        25.      Therefore, the Preferential Transfers are avoidable under § 547(b) of the Bankruptcy

Code.

                                         COUNT TWO
                 (Recovery of Preferential Transfers Pursuant to 11 U.S.C. § 550)

        26.      The Trustee repeats and re-alleges the above paragraphs, as if fully set forth herein.

        27.      Section 550 of the Bankruptcy Code provides that if a transfer is avoided under

§ 547 of the Bankruptcy Code, the Trustee may recover the property or the value of the property




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transferred from the initial transferee, the entity for whose benefit the transfer was made, or any

immediate or mediate transferee of the initial transferee.

        28.     The Defendant is the initial transferee for whose benefit the Preferential Transfer

was made.

        29.     The Preferential Transfers or the value of the Preferential Transfers that are

avoidable under § 547(b) of the Bankruptcy Code are therefore recoverable for the estate under

§ 550 of the Bankruptcy Code.

                                     COUNT THREE
              (Disallowance of Defendant’s Claim Pursuant to 11 U.S.C. § 502(d))

        30.     The Trustee repeats and re-alleges the above paragraphs, as if fully set forth herein.

        31.     The Defendant is an entity from which property is recoverable under § 550 of the

Bankruptcy Code or is a transferee of transfers avoidable under section 547 of the Bankruptcy Code.

        32.     The Defendant has not paid the amount or turned over any property transferred for

which Defendant is liable under § 550 of the Bankruptcy Code.

        33.     Any filed or scheduled claim held by the Defendant is disallowed until Defendant

pays in full or returns the property for which it is liable under § 550 of the Bankruptcy Code.

                                              PRAYER

        WHEREFORE, the Trustee demands judgment against the Defendant:

          A. Determining that the Transfer is avoidable as a preferential transfer under 11

              U.S.C. § 547(b) and that the Trustee entitled to recover the value of the

              Transfer under 11 U.S.C. § 550(a).

          B. Directing the Defendant to pay the Trustee the value of the Transfer in the

              amount determined at trial, but not less than the amount set forth above, plus

              interest and costs of suit under 11 U.S.C. § 550(a).




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         C. Disallowing any Claim of the Defendant until the Transfer is repaid to the

            Debtor under 11 U.S.C.§ 502(d).

         D. For such other and further relief as the Court deems just and proper.


Dated: May 24, 2019
                                              Respectfully submitted,

                                              DIAMOND MCCARTHY LLP

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